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16   Corp.

17                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
18
     ORACLE USA, INC.; ORACLE AMERICA,                   Case No. 2:10-cv-0106-LRH-VCF
19   INC.; and ORACLE INTERNATIONAL
     CORPORATION,                                        DECLARATION OF FRANK
20                                                       KENNAMER IN SUPPORT OF
                  Plaintiff,                             ORACLE’S SURREPLY IN
21          v.                                           OPPOSITION TO RIMINI’S MOTION
     RIMINI STREET, INC. and SETH RAVIN,                 TO STAY ENFORCEMENT OF
22                                                       PERMANENT INJUNCTION
                  Defendants.
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         KENNAMER DECLARATION ISO ORACLE’S SURREPLY IN OPPOSITION TO RIMINI’S
               MOTION TO STAY ENFORCEMENT OF PERMANENT INJUNCTION
      Case 2:10-cv-00106-LRH-VCF Document 1087-1 Filed 10/27/16 Page 2 of 2

 1           I, Frank Kennamer, have personal knowledge of the facts stated below and hereby
 2   declare:
 3           1.     I am a partner at Morgan, Lewis & Bockius LLP and counsel for Plaintiffs Oracle
 4   USA, Inc., Oracle America, Inc., and Oracle International Corporation (collectively “Oracle”) in
 5   this action.
 6           2.     I make this declaration based on personal knowledge, and based on the record of
 7   this litigation, in support of Oracle’s Surreply in Opposition to Rimini’s Motion to Stay
 8   Enforcement of Permanent Injunction.
 9           3.     Attached as Exhibit 1 is a true and correct copy of an email from Rimini’s counsel
10   to Oracle’s counsel, dated October 27, 2016.
11           4.     Attached as Exhibit 2 is a true and correct copy of excerpts of the December 15,
12   2011 deposition of Brian Slepko taken in this matter.
13           5.     Attached as Exhibit 3 is a true and correct copy of excerpts of the August 24,
14   2010 Rule 30(b)(6) deposition of Brian J. Slepko taken in this matter.
15           I declare under penalty of perjury under the laws of the United States that the foregoing is
16   true and correct and that this declaration was executed on October 27, 2016.
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20                                               By:            /s/ Frank Kennamer

21                                                                   Frank Kennamer

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         KENNAMER DECLARATION ISO ORACLE’S SURREPLY IN OPPOSITION TO RIMINI’S
               MOTION TO STAY ENFORCEMENT OF PERMANENT INJUNCTION
